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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

   AMAZON.COM, INC. and AMAZON
   DATA SERVICES, INC.,

                  Plaintiffs,

          v.

   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS; BRIAN
   WATSON; STERLING NCP FF, LLC;
                                                        CASE NO. 1:20-CV-484-RDA-TCB
   MANASSAS NCP FF, LLC; NSIPI
   ADMINISTRATIVE MANAGER; NOVA
   WPC LLC; WHITE PEAKS CAPITAL LLC;
   VILLANOVA TRUST; CASEY
   KIRSCHNER; ALLCORE DEVELOPMENT
   LLC; FINBRIT HOLDINGS LLC;
   CHESHIRE VENTURES LLC; CARLETON
   NELSON; JOHN DOES 1-20,

                  Defendants.


  REPLY TO RESPONSE TO MOTION TO MODIFY ORDER APPOINTING RECEIVER

         Wilmington Trust, National Association, as Trustee for the Registered Holders of the

  Bancorp Commercial Mortgage 2019-CRE6 Trust, Commercial Mortgage Pass-Through

  Certificates (the “Lender”), by and through CWCapital Asset Management LLC, solely in its

  capacity as Special Servicer, files this reply to the Response of Receiver to the Lender’s Motion

  to Modify Receivership Order [Docket No. 1068] filed by the receiver appointed by this Court,

  Mark A. Roberts (the “Receiver”).

                                      Preliminary Statement

         The Lender holds a loan secured by an office building in Sugar Land Texas and the rents

  that it generates (the “Collateral”). The borrower under the loan is 77 Sugar Creek DE, LLC (the

  “Borrower”), an entity formerly controlled by Defendant Brian Watson. Pursuant to the terms of
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  the Order Appointing Receiver and Ordering Turnover of Property to the Receiver entered on

  November 23, 2021 [Docket No. 433] (the “Receiver Order”), the Collateral is an asset subject to

  the Receiver’s control.

             The subject loan went into maturity default on July 9, 2022, meaning that all amounts due

  to the Lender, which as of September 9, 2022 totaled more than $23,709,139.72, are now due and

  payable. The Receiver presumably knew about the July 9, 2022 maturity of the loan based upon

  his review of the assets under his control. In any event, the Lender served a notice of default upon

  the Receiver on February 1, 2022 who has undisputedly had actual notice of the maturity of the

  loan since that time.

             Despite the nearly 11 months that have transpired since his appointment and the over eight

  months since service of the Lender’s notice of default, the Receiver has not achieved any resolution

  for the loan, be it through a sale, a negotiation of maturity extension or otherwise. Disturbingly,

  following the Lender’s filing of its papers to seek intervention in this lawsuit, the Receiver has

  ceased to pay or otherwise turn over any of the net rental income generated by the office building’s

  tenants to the Lender.

             The Receiver appears to have concluded that there is little value in the Collateral for the

  receivership estate, which is apparent from a review of the Receiver’s response, which notes that

  Defendant Watson’s interest in the Collateral is “substantially underwater”.1 In view of this lack

  of apparent economic interest in the Collateral, the Receiver’s opposition to the relief sought by

  the Lender is mystifying – delay for its own sake apparently.

             The underlying loan is a non-recourse real estate loan, meaning that the Lender’s primary

  source of recovery is the Collateral itself. The only thing sought by the Lender in this lawsuit is



  1
      Response, p. 3.

                                                      2
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  the ability to assert its contractual remedies under its loan documents. The Lender neither expects

  or seeks any other or further involvement in this litigation..

                                                    Reply

             The Response is incorrect or incomplete in several ways, addressed below.

             1. The parties have not reached a settlement in principle. Though the Lender is

                 reviewing a settlement proposal made by the Receiver in good faith, no “settlement in

                 principle” has been reached. The terms of any such settlement have not yet been agreed

                 to, even in principle. Given the nature of the Lender’s structure (it is a commercial

                 mortgage-backed securities (“CMBS”) trust), any settlement terms are subject to an

                 internal review process which can only begin when basic terms have been reached.

                 None of this has occurred.

             2. The Lender’s foreclosure of the Collateral will not be “value destructive”. The

                 Receiver’s papers state that the Collateral is effectively “underwater.”2 Accordingly,

                 there is no value to destroy for the receivership estate. Given the non-recourse nature

                 of the underlying loan, the principal remedy available to the Lender is a Texas

                 foreclosure against the office building collateral. The Texas process is a non-judicial

                 foreclosure which takes place after 21 days’ notice, making it hard to see how such a

                 foreclosure on an “underwater” asset would be “highly disruptive” to the Receiver. The

                 Receiver’s fears that the Lender will imminently exercise remedies against Defendant

                 Watson are similarly far-fetched and irrelevant. The loan is non-recourse and guarantor

                 liability is only triggered up on the occurrence of certain “bad-boy” events, such as the

                 filing of a bankruptcy case. At this time, the Lender is unaware of any events that would



  2
      See supra, note 1 and accompanying text.

                                                       3
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                establish Watson’s personal liability under his guaranty, such as a bankruptcy. Further,

                even if the Lender did have the legal ability to assert claims for liability on the loan

                against Defendant Watson, it would have to stand in line with other creditors such as

                Amazon, the Plaintiff in this lawsuit, and others currently suing Watson, such as the

                Securities and Exchange Commission,3 rendering Watson an unattractive target for the

                Lender’s recovery efforts.

          3. The Lender’s Remedies are not Undefined. The Response incorrectly seeks to create

                a sense that modifying the Receiver Order to allow the Lender to exercise remedies

                would create a chaotic disruption for the Receiver. Nothing could be further from the

                case. If the Lender is allowed to exercise remedies, that should be the last this Court

                will see of the matter. The remedies that the Lender has at hand are limited to those in

                its loan documents and consist primarily of foreclosure.4 The Response also complains

                that certain “unnamed persons” may be involved in Lender remedies. The Lender is a

                CMBS securitization trust which has no employees. Rather, it must act through its loan

                servicers, who, in turn, must act with and through the Lender’s counsel when exercising

                legal remedies. The parade of horribles hinted at by the Response is a phantom –

                nothing more.

                                                    Conclusion

          The Receiver has had ample time to resolve the loan at issue. The Receiver fails to offer a

  specific road map or specific timeline for any resolution. The loan matured three months ago and



  3
   See United States Securities and Exchange Commission v. Watson, et al., Case No. 22-cv-2147 pending in the
  United States District Court for the District of Colorado.
  4
    Given the speed of the foreclosure process, a receivership incident to foreclosure is generally not a practical
  remedy in Texas. The foreclosure can be accomplished in about 3 weeks which is before many courts could even
  get a receivership motion on their calendar.

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  the more than $23 million presently owed to the Lender has not been repaid. Current rents are not

  being turned over to the Lender. The rights of secured creditors need to be respected and the

  Receiver’s request for more directionless delay should be disregarded. The Lender’s request for

  relief from the Receiver Order should be granted without delay.



  Dated: October 13, 2022              /s/ Michael W. Robinson
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                                       Mortgage Pass-Through Certificates, by and through
                                       CWCapital Asset Management LLC, solely in its capacity as
                                       Special Servicer




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 13, 2022, I electronically filed the foregoing with the Clerk

  of Court using the CM/ECF system and I served a copy the document upon the following party

  via U.S. mail to their last-known address:

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